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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 15-0654V
                                      Filed: May 22, 2017
                                        UNPUBLISHED

****************************
PEGGY GORDON,                          *
                                       *
                    Petitioner,        *      Joint Stipulation on Damages;
v.                                     *      Trivalent Influenza (“Flu”) Vaccine;
                                       *      Guillain-Barré Syndrome (“GBS”);
SECRETARY OF HEALTH                    *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                    *
                                       *
                    Respondent.        *
                                       *
****************************
Kelly Burdette, Burdette Law, PLLC, Seattle, WA, for petitioner.
Alexis Babcock, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

       On June 24, 2015, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act. Petitioner alleged that she suffered Guillain-Barré Syndrome (“GBS”) and acute
and chronic respiratory failure caused-in-fact by the trivalent influenza vaccination she
received on December 7, 2012. Petition at 1, ¶¶ 3, 8; see also Stipulation, filed May 22,
2017, at ¶¶ 1-2, 4. Petitioner further alleged that she suffered the effects of her injury
for more than six months and has not received compensation for her injury, alleged as
vaccine caused. Petition at ¶¶ 7, 9; see also Stipulation at ¶¶ 4-5. “Respondent denies
that petitioner’s alleged injury was caused-in-fact by her flu vaccination, and denies that
the vaccine caused any other injury or her current condition.” Stipulation at ¶ 6.



1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on May 22, 2017, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

        A lump sum of $225,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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